 

. Case: 1:10-cv-07535 Document #: 1 Filed: 11/23/10 Page 1 of 7 PagelD #:1 MAA

—
IN THE UNITED STATES DISTRICT COURT RE CE IVE Dp.
NORTHERN DISTRICT OF ILLINOIS NOY 92
EASTERN DIVISION fied 28 Zoe

United States of Amenica ex rel.

TYohnoShan t, Pinney M{sdi¢

(Full name and prison nufnber)
(Include name under which convicted)

10 C 7535
Judge Rebecca R. Pallmeyer
Magistrate Judge Young B. Kim

PETITIONER

   

 MEDRA Re CHANDLER
Dixons. DoC.t Prtone- Review Board

arden j Superintendent, or authorized
persor having custody of petitioner)

RESPONDENT, and

(Fill in the following blank only if judgment
attacked imposes a sentence to commence
in the future)

ATTORNEY GENERAL OF THE STATE OF

“ELCENoTS

(State where judgment entered)

Case Number of State Court Conviction:

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PETITION FOR WRIT OF HABEAS CORPUS — PERSON IN STATE CUSTODY
1. Name and location of court whete conviction entered: f 3 +h C iC cet Court of "L Lil s
O44eure ~ 6% Salle Sunt y y fa? Eta Rds Ott awe , Le 6(3D

2. Date of judgment of conviction: Re % Sealen cod yy ely (S, 20d)

3. Offense(s) of which petitioner was convicted (list all counts with indictment numbers, if known)

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4, Sentence(s) imposed: oy Va ¥ bors & eprisnn mend eae Meek ¢ Lacreszed de_2 LOS. Msp bya De ¢)

5, What was your plea? (Check one) (A) Not guilty (WS
(B) Guilty
(C) Nolo contendere ( )

If you pleaded guilty to one count or indictment and not guilty to another count or indictment, give details:

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E viderct Tope of Cons Pir, Je“imatee the false ‘Complaint ré COrdad on micro CASTS

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PART I — TRIAL AND DIRECT REVIEW ; Ag condid dional fale
}. Kind of trial: (Check one): Jury (9 gi Judge only (OW, Fe Co atiNe rms en4
2. Did you testify at trial? YES (4 NO ()

3. Did you appeal from the conviction or the sentence imposed? YES (¥) NOC )
(A) Efyou appealed, give the
(1) Nameofcourt: 3 a Ful cal district A ee. (nto Cay
(2) Result: Peodinn
(3) Date of ruling: 4 |, 7
(4) Issues raised: NWA ( Pu bf (c dotende Cc C Appolede] Advi sed e fF
720 Ftcs S/y-f vorlentery ach as element as wef) as
Case [ows of foople vi Holte ben 3 fea eve Dadas burden not mets
(B) If you did not appeal, explain briefly why not:

Asa: batrey dealed fel/ review by Agpe l(a. cont Fro -~Se_enJ
Homeless’ feor com bination for re sperces and aby LHS te fie dpCipfre ts Veco
4. Did you appeal, or seek leave to appeal, to the highest state court? YES (“) NO (

{A) If yes, give the
(i) Result:

 

(2) Date of ruling:

(3) Issues raised:

 

 

 

(B) Ifno, why not: A peel ese Salt Perdlony
5. Did you petition the United States Supreme Court for a writ of certiorari? Yes( ) No 4

If yes, give (A) date of petition: (B) date certiorari was denied:

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PART I—- COLLATERAL PROCEEDINGS

1.

With respept’to this conviction or sentence, have you filed a post-conviction petition in state court?
YES

NO ¢ )
With respect to each post-conviction petition give the following information (use additional sheets if necessary):

A, Name of court: [th Circiust Court

 

B. Date of filing: WA kag Wht

 

C, Issuesraised: [- noomAle te Coverage. of of ese tlon Cnot divin a [

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D. Did you receive an evidentiary hearing on your petition? YES A NO ( }
FE. What was the court's ruling? Mot Aen df sore ~- benred

F. Date of court's ruling: BQ oo f1e

G. Did you appeal from the ruling on your petition? YES Ly No ( )
H. (a) If yes, (1) what was the result? fen if a4

 

(2) date of decision: ~ ied

(b)  IZfno, explain briefly why not:

 

I. Did you appeal, or seek leave to appeal this decision to the highest state court?
YES( ) NO (

(a)  Ifyes, (1) what was the result?

 

(2) date of decision:

 

(b)  Ifno, explain brieflywhynot:_ /trhe y- Pending (a o pela FO Coe

 

 

 

 

 

 

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2. With respect to this conviction or sentence, have you filed a petition in a state court using any other form of post-
conviction procedure, such as coram nobis or habeas corpus? =YES( } NO CF

A. Ifyes, give the following information with respect ta each proceeding (use separate sheets if necessary):
[. Nature of proceeding
2. Date petition filed
3. Ruling on the petition
4. Date of ruling

5. If you appealed, what was
the ruling on appeal?

6. Date of ruling on appeal

7. ‘If there was a further appeal,
what was the ruling ?

8. Date of ruling on appeal

3. With respect to this convi aon or sentence, have you filed a previous petition for habeas corpus in federal
court? YES ( ) NO (*)

A. Ifyes, give name of court, case title and case number:

 

 

_ B. Did the court rule on your petition? If so, state

(1) Ruling:

 

(2) Date:

 

4. With respect to thigonvietion or sentence, are there legal proceedings pending in any court, other than this
petition? YES (V) NO ( ) >

Ifyes, explain: Pending Hepes ¢ in 2 £4 al (steric? A ppetlste Cow} of CECT MAY
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PART Hi — PETITIONER'S CLAIMS

1. State briefly every ground on which you claim that you are being held unlawfully. Summarize briefly the facts
supporting each ground. You may attach additional pages stating additional grounds and supporting facts. If you
fail to set forth all grounds i in this petition, you may be barred from presenting additional grounds later.

BEFORE PROCEEDING IN THE FEDERAL COURT, YOU MUST ORDINARILY FIRST EXHAUST
YOUR STATE COURT REMEDIES WITH RESPECT TO EACH GROUND FOR RELIEF ASSERTED.

(A) Ground one 0 rl g! haul Charge ot flemel¥ hae
Supporting facts (teW’ your story briefly without citing-Casés/or law):

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Torture vn Violation ef Title [& & the Federe/ C fiminal Code
[{f3¢ Tortere § 2340 CB); aot to Menton M ve m bara defense.

 

(B) Groundtwo Jt {x not a crime to be homeloss
Supporting facts:

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ra ¥1% affirmes $0 il. Dec. C4, Xt. Lu 2d 106

U4 ME 2d VWI 3As eff as Vercionws Feder rulings phage

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wes ‘being used to emulcre Sool)
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(C) Ground three Re. Se Aten Ce a (eo d E XPLC e A

Supporting facts:

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soo TW TLCO. 83 8-10 (also FACILCS S/3-3-3).

 

(BD) Ground four S fete fa Wa / R iG 7S Dea itd

Supporting facts:

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Wider 720 TLCS 3 -[4- oh ind Cates wes af ua [awfe/
Custodial gessition beyond ike ~ leis sentence)

 

 

2. Have all grounds raised in this petition been presented to the highest court having jurisdiction?
YES ( ) NO (“)

3. Ifyou answered "NO" to question (2), state briefly what grounds were not so pres¢ an why not: ,
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PART IV — REPRESENTATION

Give the name and address, if known, of each attorney who represented you in the following stages of the judgment
attacked herein:

(A) Atpreliminary hearing Not glu tn

(B) Atarraignment and plea MA othew Kidd er (Mow ~officlgly~ Ste9es fl atemey }
(C) Attriat (ro - SC

fo
(D) Atsentencing | ro -Se
(E) Onappeal Cobect Boost nelfi Via Jey Wi eg ma A

 

 

(FP) Inany post-conviction proceeding ; ro 7~Se ;
(G) Other pe: (ittness tric /s” Bien cscognis Jim Reilly s SG 10 Methae!
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PART V— FUTURE SENTENCE = 3//%/o} 4///(o

Do you have any future sentence to serve following the sentence imposed by this conviction?

res (5 OWS curr ent

Name and location of the court which imposed the sentence: [ 3 fh Ciccnlt ba Safle Canty Dita Te

Date and length of sentence to be served in the future 7 Vv & [Ales ime. Se ved q g a Xe dey &,
( Gted Con dnet Cred}

WHEREFORE, petitioner prays that the court grant petitioner all relief to which he may be entitled in this
proceeding.

Signed on: [fy [7c sft (ie =
(Date jgnature of attorney (iffany

I declare under penalty of perjury that the foregoing is true
and correct.

Flo Slee
APignature of petitioggr) a

Mis rfe
(LD. Number)

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(Address) 7 ‘

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